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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                     X       1:24-CV-07501
PRIMITIVO ROBLES, on behalf of himself
and all others similarly situated,
                                                                             DECLARATION OF
                                       Plaintiff,                            ARJETA ALBANI, ESQ. IN
             -against-                                                       SUPPORT OF THE
                                                                             APPLICATION TO CLERK
LAMBSBREATH LLC d/b/a LAMB’S BREAD                                           FOR CERTIFICATE OF
                                                                             DEFAULT PURSUANT TO
DISPENSARY,                                                                  LOCAL CIVIL RULE 55.1

                                       Defendants.
                                                                      X

        ARJETA ALBANI, ESQ., being duly sworn, hereby deposes and states under penalty of

perjury, pursuant to 28 U.S.C. §1746, as follows:

        1.       I am the attorney of record for plaintiff, Primitivo Robles (”Primitivo Robles” or

"Plaintiff") in the above referenced action. I am familiar with the facts and circumstances of the

above- captioned matter, and I submit this affidavit pursuant to Local Civil Rule 55.1 and Fed. R.

Civ.P. 55(a) in support of Plaintiff Primitivo Robles, for a Certificate of Default (the “Application”).

        2.       In the annexed Application, Plaintiff Primitivo Robles, asks the Clerk to enter default

against Defendant, Lambsbreath LLC, d/b/a Lamb’s Bread Dispensary (“Defendant”).

        3.       Defendant is not an infant or incompetent person and is not in the military service

within the purview of the Soldier's and Sailor's Civil Relief Act of 1940 as amended.

        4.       This action was commenced by filing of the Summons and Complaint attached hereto

as Exhibit A.

5.               On October 21, 2024, Plaintiff served Defendant, Lambsbreath LLC, d/b/a Lamb’s

Bread Dispensary, via Meridian Investigations & Security, Process Servers. According to the

Declarant, Ms. Patricia Burke, service was effectuated upon Defendant by “delivering two true

copies of the Summons in a civil Action, Class Action Complaint, and Civil Cover Sheet pursuant


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to New York State Section 306 BCL together with statutory service fee in the amount of $40.00

to Colleen Banahan as Office Assistant 2 of New York State Department of State, 99 Washington

Avenue, 6th Floor, Albany, NY 12210.” Attached hereto as Exhibit B is the Affidavit of Service by Ms.

Burke.

         6.     Notwithstanding Defendant’s receipt of the Complaint, Defendant has not interposed

an answer, nor otherwise moved with respect to the Complaint within the time prescribed by the

Federal Rules of Civil Procedure.

         7.     The time for Defendant, Lambsbreath LLC, d/b/a Lamb’s Bread Dispensary to serve

an answer or file a motion has long since expired, as Defendant was required to respond on or before

November 11, 2024. (Docket No. 6).

         8.     Since Defendant has failed to answer or otherwise defend the above-captioned action,

they are clearly in default.

         WHEREFORE, Plaintiff Primitivo Robles respectfully request that the Clerk of this Court

grant Plaintiff’s application for a Certificate of Default.

Dated: New York, New York
       January 6, 2025
                                                        Joseph & Norinsberg, LLC



                                                        Arjeta Albani, Esq.
                                                        _________________________
                                                        Arjeta Albani, Esq.
                                                        Attorney for Plaintiff
                                                        110 East 59th Street, Suite 3200
                                                        New York, New York 10022
                                                        Telephone No.: (212) 791-5396




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